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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

FLORIDA GAS TRANSMISSION                      §       CIVIL ACTION
COMPANY, LLC,                                 §
     Plaintiff,                               §       NO.: 3:24-CV-00122-BAJ-RLB
                                              §
v.                                            §       JUDGE BRIAN A. JACKSON
                                              §
8.22 ACRES, MORE OR LESS,                     §       MAG. RICHARD L. BOURGEOIS, JR.
SITUATED IN IBERVILLE PARISH,                 §
LOUISIANA, MURRELL FAMILY,                    §
L.L.C., AND FOREST HOME                       §
PLANTATION, L.L.C.                            §

     DEFENDANTS’ RESPONSE TO PLAINTIFF’S NOTICE OF CONDEMNATION

       Defendants, 8.22 acres, more or less, situated in Iberville Parish, Louisiana, Murrell

Family, L.L.C. (“Murrell Family”), and Forest Home Plantation, L.L.C. (“Forest Home”)

(collectively, “Defendants”), respectfully file this Response to Plaintiff, Florida Gas

Transmission Company, LLC’s (“Plaintiff”) Notice of Condemnation [Rec. Doc. 12] (the

“Notice”), and respectfully would show the Court as follows:

       1.      Plaintiff served Defendants with its Original Complaint in Condemnation (the

“Complaint”) [Rec. Doc. 1] and the Notice on March 1, 2024. See Rec. Doc. 16 (Return for

Forest Home), Rec. Doc. 17 (Return for Murrell Family), Rec. Doc. 18 (Affidavit of Service).

Pursuant to Fed. R. Civ. P. 12, Defendants’ Answer to the Complaint is due on or before March

22, 2024.

       2.      As required by the Court’s February 23, 2024 Amended Scheduling Order [Rec.

Doc. 14], Defendants file this Response to the Notice, reserving all rights.

       3.      Defendants are the owners of the immovable property upon which Plaintiff seeks

to acquire the servitudes referenced in the Notice. See Rec. Doc. 12 at ¶ 1, 2. Forest Home owns

100% of “Property 1” and Murrell Family owns 100% of “Property 2”. Id.

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       4.      Defendants do not oppose or contest Plaintiff’s right to condemn the servitudes

referenced in the Notice. See Rec. Doc. 12 at ¶ 1.

       5.      Defendants represent that they are in active settlement discussions with Plaintiff

to resolve this matter and believe the Parties will complete their settlement discussions prior to

the hearing on Plaintiff’s Motion to Confirm Condemnation of Servitudes and for Preliminary

Injunction [Rec. Doc. 3], which is currently set for May 15, 2024.

       6.      Plaintiff and Defendants have also reached an agreement on the compensation due

to Defendants for the taking of their property rights.     However, in the event Plaintiff and

Defendants are unable to amicably conclude their settlement negotiations, then Defendants

reserve their rights to contest the amount of just compensation due Defendants, which they are

entitled to receive under the United States Constitution and the Constitution of the State of

Louisiana.

                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendants, 8.22 acres, more or less,

situated in Iberville Parish, Louisiana, Murrell Family, L.L.C., and Forest Home Plantation,

L.L.C., respectfully prays that the Court deem this Response to be good and sufficient, dismiss as

moot Plaintiff’s Notice of Condemnation at Plaintiff’s sole cost and expense, award Defendants

all fees and costs of court, and for all other and further relief, at law or in equity, to which

Defendants are entitled.




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       New Orleans, Louisiana this 14th day of March, 2024.

                                              Respectfully submitted,


                                              /s/ Brandon T. Darden
                                              M. Taylor Darden (La. Bar # 4546)
                                              Brandon T. Darden, T.A. (La. Bar # 37089)
                                              Elizabeth C. Griffin (La. Bar # 40569)
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                                              ATTORNEYS FOR DEFENDANTS, 8.22 ACRES, MORE
                                              OR LESS, SITUATED IN IBERVILLE PARISH,
                                              LOUISIANA, MURRELL FAMILY, L.L.C., AND
                                              FOREST HOME PLANTATION, L.L.C.


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 14, 2024, a copy of the foregoing pleading was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent to all counsel of record registered to receive electronic service by operation of the Court’s

electronic filing system.

                                              /s/ Brandon T. Darden
                                                      Brandon T. Darden




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